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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA


InVue Security Products Inc.,

       Plaintiff,
                                                    EXHIBIT A
       v.

Vanguard Products Group, Inc., d/b/a
Vanguard Protex Global,

       Defendant.
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